Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 1 of 16




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                              CASE NO.:

 JAMES WATSON,

         Plaintiff,

 v.

 KUSH HOSPITALITY GROUP LLC,


         Defendant.
                                                                /

                              COMPLAINT FOR INJUNCTIVE RELIEF

         Plaintiff James Watson hereby sues Defendant Kush Hospitality Group LLC for Injunctive

 Relief, attorney’s fees, litigation expenses and costs pursuant to Title III of the Americans with

 Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12181-12189 (“ADA”), 28 C.F.R. Part 36, et

 seq.

         1.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) and

 Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

 occurred in this District.

         2.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

 original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

 Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

         3.      Plaintiff James Watson (“Plaintiff”) is a Florida resident, lives in Miami-Dade

 County, is sui juris, and qualifies as an individual with disabilities as defined by the ADA. Plaintiff

 is legally blind and a member of a protected class under the ADA, 42 U.S.C. §§ 12102(1)-(2), the
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 2 of 16




 regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602,

 §802(h). Plaintiff is substantially limited in the major life activity of seeing. Plaintiff’s disability

 is defined in 28 C.F.R. §36.105(b)(2).

         4.      Plaintiff uses the internet and a mobile device to help him navigate a world of

 goods, products and services like the sighted. He brings this action against Defendant for offering

 and maintaining a mobile website (software that is intended to run on mobile devises such as

 phones or tablet computers) that is not fully accessible and independently usable by visually

 impaired consumers. Plaintiff utilizes the Apple Screen Reader VoiceOver software to read

 computer materials and/or access and comprehend internet mobile website information which is

 specifically designed for the visually impaired.

         5.      Plaintiff is also an advocate of the rights of similarly situated disabled persons and

 is a “tester” for the purpose of asserting his civil rights and monitoring, ensuring, and determining

 whether places of public accommodation and/or their mobile websites are in compliance with the

 ADA.

         6.      Defendant Kush Hospitality Group LLC (“Defendant,” and also referenced as

 “Kush Hospitality”) is a Florida limited liability company. On information and belief, Kush

 Hospitality is the owner and operator of the https://kushhospitality.com website and mobile

 website for Kush Hospitality restaurants and bars which markets its restaurant and bar brands

 Lokal, Vicky’s House, Tobacco Road by Kush, Don’s 5-Star Dive Bar, and La Cocina Cocteleria.

 Kush Hospitality’s specialty branded restaurants are owned and operated by separate corporate

 entities which have a commonality of officers, directors and/or registered agents. On information

 and belief, Defendant is a brother/sister corporation to the corporate entities which own and operate

 the various Kush Hospitality restaurants and bars which are:




                                                    2
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 3 of 16




       i.   Kush Wynwood LLC - which is the operator of the Kush restaurant located at 2300 North

            Miami Avenue, Wynwood Florida 33127;

      ii.   Spillover Restaurant Concepts LLC - which is the operator of the Kush Coconut Grove

            restaurant located at 2911 Grand Avenue, Coconut Grove, Florida 33133;

     iii.   Stephan’s Delicatessen LLC - which is the operator of the Kush Hialeah / La Cocina

            Cocteleria restaurant and bar located at 1000 E 16th Street, Hialeah Florida 33010;

     iv.    MK Restaurant Concepts LLC – which is the operator of Lokal and Vicky’s House

            restaurants and bakeries located at 3190 Commodore Plaza, Miami Florida 33133;

      v.    T Road Management Group LLC – which is the operator of Tobacco Road by Kush

            restaurant/bar which is located at 650 South Miami Avenue, Miami Florida 33130; and

     vi.    On information and belief, Kush Hospitality Group LLC, as operator of Café Kush and

            Don’s 5 Star Dive Bar, located in the Gold Dust Motel at 7700 Biscayne Boulevard,

            Miami, Florida 331381

 All of the above delineated restaurants and bars are listed within the https://kushhospitality.com

 mobile website.

            7.     All Kush Hospitality restaurants and bars are located within Miami-Dade County

 and are open to the public. Each restaurant/bar is a Place of Public Accommodation subject to the

 requirements of Title III of the ADA and its implementing regulation defined by 42 U.S.C.

 §12181(7)(B), §12182, and 28 C.F.R. §36.104(2). These restaurants and bars are also referenced

 throughout as “place(s) of public accommodation,” “restaurant(s),” “Kush Hospitality restaurants

 and bars,” or individually as “Kush, Café Kush, Vicky’s House, Tobacco Road by Kush, Don’s 5



 1
  There is no intangible tax record for each of these restaurant and bar establishments in Miami Dade, and there is no
 Sunbiz notation, however both are listed within the https://kushhospitality.com website and mobile website as being
 operated by Defendant


                                                          3
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 4 of 16




 Star Dive Bar, and La Cocina Cocteleria.”

          8.       Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

 constructed, the https://kushhospitality.com mobile website (hereinafter “mobile website”) for the

 general public to access on their mobile devices (phones, tablets). This mobile website supports,

 is an extension of, is in conjunction with, is complementary and supplemental to, Kush Hospitality

 restaurants and bars. The mobile website delineates the goods, services, accommodations, privileges,

 benefits and facilities available to patrons at each of the Kush Hospitality restaurants and bars

 physical locations.

          9.       The mobile website is offered by Defendant as a way for the public to become

 familiar with Kush Hospitality restaurant and bar (Kush, Café Kush, Vicky’s House, Tobacco

 Road by Kush, Don’s 5 Star Dive Bar, and La Cocina Cocteleria) menu selections, restaurant

 locations, to sign up for the Kush Times newsletter, and to purchase gift cards online. The mobile

 website also provides a link to reserve a table for dining within each of the Kush Hospitality

 restaurants and enables the public to inquire as to catering at each individual restaurant location,

 and provides other information the Defendant seeks to communicate to the public. The mobile

 website also enables the public/patrons to place an order online and have the order ready for pick

 up at the various restaurant locations. By the provision of menu selection, reservation services,

 to-go order menu and placement, and the ability to purchase gift cards online, Defendant’s mobile

 website is an integral part of the goods and services of the offered at the Kush Hospitality restaurant

 and bar locations. By this nexus, the mobile website is characterized as a Place of Public

 Accommodation to Title III of the ADA2, 42 U.S.C. §§s 12181(7)(B) & (E).


 2
   “The Department of Justice has long taken the position that both State and local government Websites and the
 websites of private entities that are public accommodations are covered by the ADA. In other words, the websites of
 entities covered by both Title II and Title III of the statute are required by law to ensure that their sites are fully
 accessible to individuals with disabilities.” (See: Statement of Eve Hill Senior Counselor to the Assistant Attorney


                                                           4
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 5 of 16




         10.      Since Defendant is the owner of the mobile website (which is a Place of Public

 Accommodation), Defendant itself is a “Public Accommodation" in accordance with 42 U.S.C.

 §12181(7)(B) and 28 C.F.R. §36.104(2).

         11.      Defendant’s mobile website allows mobile device users to use a mobile platform

 through a connection to Wi-Fi or cellular data so that users can manage their dining choice from

 their mobile device. As such, Defendant has subjected itself to the ADA because its mobile

 website is offered as a tool to promote, advertise and sell products and services from Kush, Café

 Kush, Vicky’s House, Tobacco Road by Kush, Don’s 5 Star Dive Bar, and La Cocina Cocteleria

 restaurant locations, each of which is a place of public accommodation. As a result, Defendant’s

 mobile website must interact with the Kush Hospitality restaurants and bars and the public, and in

 doing so must comply with the ADA, which means it must not discriminate against individuals

 with disabilities and may not deny full and equal enjoyment of the goods and services afforded to

 the general public.3

         12.      Defendant’s mobile website does not properly interact with the VoiceOver screen

 reader software technology in a manner that allows blind and visually impaired individuals to

 comprehend the mobile website and does not provide other means to accommodate blind and

 visually impaired individuals.

         13.      Plaintiff has attempted to patronize Defendant’s mobile website in the past and

 intends to continue to make further attempts to patronize Defendant’s mobile website. Like the

 seeing community, he would like the opportunity to be able to use the Defendant’s mobile website



 General for the Civil Rights Department of Justice - Before the Senate Committee on Health, Education, Labor &
 Pensions United States Senate – Concerning The Promise of Accessible Technology: Challenges and Opportunities –
 Presented on February 7, 2012.
 3
   According to Statista, almost half of web traffic in the United States originated form mobile devices in 2021.
 Therefore, Defendant knew or should have known that potential customers would be using the mobile version of its
 website and provided accessibility for blind users.


                                                        5
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 6 of 16




 to comprehend restaurant menu selections, make reservations to dine in Kush Hospitality

 restaurants and bars, to order food online for pick up at the various restaurant/bar locations, and to

 purchase gift cards online. However, unless Defendant is required to eliminate the access barriers

 at issue and required to change its policies so that access barriers do not reoccur, Plaintiff will

 continue to be denied full and equal access to the mobile website as described and will be deterred

 from fully using Defendant’s mobile website for dining at Kush Hospitality restaurants and bars

 which are located throughout Miami Dade county.

        14.     Plaintiff has attempted to utilize the mobile website and/or plans to continue to

 attempt to utilize the mobile website in the near future. In the alternative, Plaintiff intends to

 monitor the mobile website in the near future, as a tester, to ascertain whether it has been updated

 to interact properly with VoiceOver screen reader software.

        15.     Plaintiff is continuously aware of the violations on Defendant’s mobile website and

 is aware that it would be a futile gesture to attempt to utilize Defendant’s mobile website as long as

 those violations exist unless he is willing to suffer additional discrimination.

        16.     Defendant and alike restaurants are fully aware of need to provide full access to all

 visitors to its mobile website as such barriers result in discriminatory and unequal treatment of

 individuals with disabilities who are visually impaired and result in punishment and isolation of

 blind and low vision individuals from the rest of society.

        17.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

 alleged herein and this action is his only means to secure adequate redress from Defendant’s

 discriminatory practice.

        18.     Notice to Defendant is not required as a result of Defendant’s failure to cure the

 violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,




                                                   6
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 7 of 16




 2202.

         19.    Plaintiff has been obligated to retain the civil rights law office of J. Courtney

 Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

 cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

 costs and expenses from Defendant pursuant to 42 U.S.C. §12205 and 28 CFR 36.505.

                   COUNT I – VIOLATIONS OF TITLE III OF THE ADA

         20.    The ADA and implementation of ADAAG requires that Public Accommodations

 (and Places of Public Accommodation) are required to ensure that communication is effective,

 which includes the provision of auxiliary aids and services for such purpose.

         21.    According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and services includes

 “voice, text, and video-based telecommunications products and systems.” 28 C.F.R. Section

 36.303(b)(2) specifically states that (VoiceOver) screen reader software is an effective method of

 making visually delivered material available to individuals who are blind or have low vision.

         22.    28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public accommodations

 must furnish appropriate auxiliary aids and services where necessary to ensure effective

 communication with individuals with disabilities. “In order to be effective, auxiliary aids and

 services must be provided in accessible formats, in a timely manner, and in such a way as to protect

 the privacy and independence of the individual with a disability.”

         23.    Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

 subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

 public accommodations and requires places of public accommodation to be designed, constructed,

 and altered in compliance with the accessibility standards established by Part 36.

         24.    Defendant’s mobile website has been designed to integrate with Kush Hospitality




                                                  7
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 8 of 16




 restaurant and bar physical locations through provision of a reservation service and the provision

 of to-go order menus. Therefore, the mobile website is an extension of Kush Hospitality restaurants

 and bars, each of which is a Place of Public Accommodation. By and through its mobile website,

 Defendant extends Kush Hospitality restaurants and bars into individual persons' homes and

 portable devices wherever located. The mobile website is a service, facility, privilege, advantage,

 benefit and accommodation of each of the Kush Hospitality restaurant and bar locations. As such,

 Defendant’s mobile website is integrated with, and is a nexus to, each restaurant and bar location

 as promoted within its mobile website. Therefore, Defendant’s mobile website is governed by the

 following provisions:

                a.       U.S.C. Section 12182(a) provides: “No individual shall be discriminated

 against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

 privileges, advantages, or accommodations of any place of public accommodation by any person

 who owns, leases (or leases to), or operates a place of public accommodation.”

                b.       42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

 subject an individual or class of individuals on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

 of the opportunity of the individual or class to participate in or benefit from the goods, services,

 facilities, privileges, advantages, or accommodations of an entity[.]”

                c.       42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

 afford an individual or class of individuals, on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements with the

 opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

 accommodation that is not equal to that afforded to other individuals[.]”




                                                   8
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 9 of 16




                 d.       42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

 to provide an individual or class of individuals, on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements with a good,

 service, facility, privilege, advantage, or accommodation that is different or separate from that

 provided to other individuals, unless such action is necessary to provide the individual or class of

 individuals with a good, service, facility, privilege, advantage, or accommodation, or other

 opportunity that is as effective as that provided to others[.]”

                 e.       42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

 privileges, advantages, and accommodations shall be afforded to an individual with a disability in

 the most integrated setting appropriate to the needs of the individual.”

                 f.       42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

 of separate or different programs or activities provided in accordance with this section, an

 individual with a disability shall not be denied the opportunity to participate in such programs or

 activities that are not separate or different.”

                 g.       42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

 make reasonable modifications in policies, practices, or procedures, when such modifications are

 necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

 individuals with disabilities, unless the entity can demonstrate that making such modifications

 would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

 accommodations[.]”

                 h.       42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

 take such steps as may be necessary to ensure that no individual with a disability is excluded,

 denied services, segregated or otherwise treated differently than other individuals because of the




                                                    9
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 10 of 16




  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

          25.    Plaintiff attempted to access and/or utilize Defendant's mobile website, but was

  unable to, and he continues to be unable to enjoy full and equal access to the mobile website and/or

  understand the content therein because numerous portions of the mobile website do not interface

  with VoiceOver screen reader software. Specifically, features of the mobile website that are

  inaccessible to VoiceOver screen reader software users include, but are not limited to, the

  following (citing the WCAG 2.1 Level A and AA Guidelines):

     i.   Guideline 1.3.1 Info and Relationships is violated. Accessibility issues are present in the
          PDF menu. Mobile VoiceOver screen reader software users hear a mismatch of menu
          selections and prices. For example, after the Classic burger is announced, then the burger
          description is skipped and focus skips to the description for the Latkes in the Starters
          section, so mobile VoiceOver screen reader software users hear "classic 88 periods 14" and
          then "served with apple sauce and sour cream."

    ii.   Guideline 1.3.2 Meaningful Sequence is violated, as content is not presented in a
          meaningful order. For example, focus does not move to the Kush Times newsletter pop-up
          when that pop-up displayed. Instead of hearing the content in the pop-up, focus moved to
          a hidden element, and mobile VoiceOver screen reader software users hear an unlabeled
          link

   iii.   Guideline 1.4.5 Images of Text is violated, as the site does not use images of text (so that
          mobile VoiceOver screen reader users are unable to comprehend). For example, some of
          the menus have content that is only available as an image, such as when focus moves to
          the “Cocktail” section, only the last product in the “Cocktail” section is announced. After
          the announcement, each time the mobile VoiceOver screen reader software user swipes, all
          that is heard is "image." Approximately 26 announcements of just "image" are present in
          this mobile website.

   iv.    Guideline 2.4.3 Focus order is violated, as the mobile website does not provide focus in a
          logical order that preserves meaning and operability. For example, the main menu icon
          does not receive focus and is not announced to mobile VoiceOver screen reader software
          users.

    v.    Guideline 2.4.5 Multiple Ways is violated. For example, content such as menus, events,
          and locations are only shown to mobile VoiceOver screen reader software users via the



                                                  10
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 11 of 16




         main menu icon. The main menu icon does not receive focus and is not announced on the
         mobile website. Alternative methods such as a footer or the site map are not available.

   vi.   Guideline 3.3.2 Labels or Instructions is violated. For example, the reservation widget has
         multiple unlabeled elements that do receive focus and are announced so mobile VoiceOver
         screen reader software users must swipe through each one, but they won't hear labels that
         are descriptive. For example, each field has a chevron, and each chevron receives focus
         independently of the specific field and is announced only as "m." The calendar icon is
         announced only as "d," the time icon is announced only as "t" and the people icon is
         announced only as "p."

         26.     As the owner and/or operator of the Kush Hospitality mobile website, Defendant is

  required to comply with the ADA and the provisions cited above. This includes Defendant’s

  obligation to create and maintain a mobile website that is accessible to and usable by visually

  impaired persons so that they can enjoy full and equal access to the mobile website and the content

  therein, including the ability to make a reservation to dine within Kush Hospitality restaurants and

  bars (Kush, Café Kush, Vicky’s House, Tobacco Road by Kush, Don’s 5 Star Dive Bar, and La

  Cocina Cocteleria), to order “to-go” for pickup at the various restaurant locations, and to purchase

  gift cards on the mobile website.

         27.     With respect to its mobile website, Defendant has violated the ADA by failing to

  interface its mobile website with VoiceOver screen reader software utilized by visually impaired

  individuals (as specifically delineated within paragraph 25) either directly or through contractual,

  licensing or other arrangements. Defendant’s violations have resulted in Defendant denying

  Plaintiff accommodation on the basis of his disability:

                 a.      by depriving Plaintiff of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                 b.      in the denial of providing Plaintiff the opportunity to participate in or benefit

  from the goods, services, facilities, privileges, advantages, or accommodations (42 U.S.C. §



                                                    11
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 12 of 16




  12182(b)(1)(A)(i));

                 c.      in failing to afford Plaintiff the opportunity to participate in or benefit from

  a good, service, facility, privilege, advantage, or accommodation that is equal to that afforded to

  other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                 d.      by providing Plaintiff a good, service, facility, privilege, advantage, or

  accommodation that is different or separate from that provided to other individuals (unless

  such action is necessary to provide the individual or class of individuals with a good, service,

  facility, privilege, advantage, or accommodation, or other opportunity that is as effective as that

  provided to others) (42 U.S.C. § 12182(b)(1)(A)(iii));

                 e.      by failing to afford Plaintiff goods, services, facilities, privileges,

  advantages, and accommodations in the most integrated setting appropriate to the needs of the

  disabled individual (42 U.S.C. § 12182(b)(1)(B));

                 f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying Plaintiff the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                 g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities (unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as necessary to ensure that disabled

  individuals are not excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services (unless the entity can demonstrate




                                                    12
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 13 of 16




  that taking such steps would fundamentally alter the nature of the good, service, facility, privilege,

  advantage, or accommodation being offered or would result in an undue burden) (42 U.S.C. §

  12182(b)(2)(iii)).

          28.     Plaintiff continues to attempt to utilize the mobile website and/or plans to continue

  to attempt to utilize the mobile website to review Kush Hospitality restaurant menus, to make

  online reservations for dining within the Kush Hospitality restaurant locations, to order from

  various of the restaurants’ “to go” menu, to sign up for the Kush Times newsletter, and to purchase

  gift cards online.

          29.     Plaintiff is continuously aware of the violations within Defendant's mobile website

  and is aware that it would be a futile gesture to attempt to utilize the mobile website as long as

  those violations exist unless he is willing to suffer additional discrimination.

          30.     Plaintiff has suffered (and continues to suffer) frustration and humiliation as the

  result of the discriminatory conditions present within Defendant's mobile website. By continuing

  to operate its mobile website with discriminatory conditions, Defendant contributes to Plaintiff's

  sense of isolation and segregation and deprives Plaintiff the full and equal enjoyment of the goods,

  services, facilities, privileges and/or accommodations available to the general public. By

  encountering the discriminatory conditions within Defendant's mobile website and knowing that

  it would be a futile gesture to attempt to utilize the mobile website unless he is willing to endure

  additional discrimination, Plaintiff is deprived of the meaningful choice of freely visiting and

  utilizing the same accommodations readily available to the general public and is deterred and

  discouraged from doing so. By maintaining a mobile website with violations, Defendant deprives

  Plaintiff the equality of opportunity offered to the general public.

          31.     Plaintiff has suffered (and will continue to suffer) direct and indirect injury as a result




                                                     13
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 14 of 16




  of Defendant’s discrimination until Defendant is compelled to comply with the requirements of the

  ADA and conform its mobile website to WCAG 2.1 Level A and AA Guidelines.

            32.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from Defendant’s non-compliance with the ADA with respect to its mobile website. Plaintiff has

  reasonable grounds to believe that he will continue to be subjected to discrimination in violation of

  the ADA by Defendant. Plaintiff desires to access the mobile website to avail himself of the

  benefits, advantages, goods and services therein, and/or to assure himself that this mobile website

  is in compliance with the ADA so that he and others similarly situated will have full and equal

  enjoyment of the mobile website without fear of discrimination.

            33.   Plaintiff is without adequate remedy at law and has suffered (and will continue to

  suffer) irreparable harm. Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein.

            34.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

  Injunctive Relief, including an order to require Defendant to alter its mobile website to make it

  readily accessible to and usable by Plaintiff and other persons with vision impairments.

            WHEREFORE, Plaintiff James Watson hereby demands judgment against Defendant

  Kush Hospitality Group LLC and requests the following injunctive and declaratory relief:

            a.    The Court issue a Declaratory Judgment that determines that Defendant's mobile

                  website is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.

                  § 12181 et seq.;

            b.    The Court issue a Declaratory Judgment that Defendant has violated the ADA by

                  failing to monitor and maintain its mobile website to ensure that it is readily




                                                    14
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 15 of 16




              accessible to and usable by persons with vision impairment;

        c.    The Court issue an Order directing Defendant to alter its mobile website to make it

              accessible to, and useable by, individuals with disabilities to the full extent required

              by Title III of the ADA;

        d.    The Court issue an Order directing Defendant provide the appropriate auxiliary aids

              such that individuals with visual impairments will be able to effectively

              communicate with the mobile website for purposes of comprehending Kush

              Hospitality restaurant menu selections, making reservations for dining in the

              various Kush Hospitality restaurants, ordering from the “to-go” menus of the

              various restaurant locations, signing up for the Kush Times newsletter, and

              ordering/paying for gift cards, and during that time period prior to the mobile

              website’s being designed to permit individuals with visual impairments to

              effectively communicate, requiring Defendant to provide an alternative method for

              individuals with visual impairments to effectively communicate so that disabled

              individuals are not impeded from obtaining the goods and services made available

              to the public through Defendant’s mobile website.

        e.    The Court enter an Order directing Defendant to evaluate and neutralize its policies

              and procedures towards persons with disabilities for such reasonable time so as to

              allow Defendant to undertake and complete corrective procedures;

        f.    The Court enter an Order directing Defendant to continually update and maintain

              its mobile website to ensure that it remains fully accessible to and usable by visually

              impaired individuals;

        g.    The Court award attorney’s fees, costs and litigation expenses pursuant to 42




                                                15
Case 1:22-cv-20599-JAL Document 1 Entered on FLSD Docket 02/28/2022 Page 16 of 16




                U.S.C. § 12205; and,

         h.     The Court provide such other relief as the Court deems just and proper, and/or is

                allowable under Title III of the Americans with Disabilities Act.


  Dated: February 28, 2022
                                              Respectfully submitted,

                                              /s/ J. Courtney Cunningham
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                                                16
